 Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 1 of 28. PageID #: 286398




                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 IN RE NATIONAL PRESCRIPTION                         MDL No. 2804
 OPIATE LITIGATION                                   Case No. 17-md-2804
                                                     Judge Dan Aaron Polster

 This document relates to:
 The County of Cuyahoga v. Purdue
 Pharma L.P., et al., Case No. 17-OP-45004

 The County of Summit, Ohio, et al. v.
 Purdue Pharma L.P. et al.,
 Case No. 18-OP-45090


 REPLY IN SUPPORT OF SPECIALLY APPEARING DEFENDANT ALLERGAN PLC
             MOTION TO DISMISS PURSUANT TO RULE 12(B)(2)
                FOR LACK OF PERSONAL JURISDICTION

       Plaintiffs ask this Court to exercise personal jurisdiction over Ireland-based Allergan plc

based on mischaracterizations of Allergan plc’s corporate structure and operations. Indeed, in

their Opposition, they simply describe the activities of Allergan plc’s direct or indirect

subsidiaries—three of which are Defendants in these cases and actually subject to personal

jurisdiction—but they provide no basis to characterize them as the activities of the parent holding

company.

       First, Allergan plc cannot be subject to personal jurisdiction in this Court as the implied

successor-in-interest to Allergan Finance, LLC, formerly known as Actavis, Inc., based on two

undisputed facts: (1) Allergan Finance, LLC is a going concern with over $90 billion in reported

assets and is a Defendant in these cases, and (2) Allergan plc never acquired any, let alone

substantially all, of Allergan Finance, LLC’s assets. See In re Welding Fume Prod. Liab. Litig.,

No. 1:03-cv-17000, 2010 WL 2403355, at *7 (N.D. Ohio June 11, 2010) (where, as here, “the

original entity still exists, there is no successor—and no successor liability.”); Transp. Ins. Co. v.
    Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 2 of 28. PageID #: 286399




Busy Beaver Bldg. Ctrs., Inc., 969 F. Supp. 2d 875, 886 (S.D. Ohio 2013) (“For a purchaser to

even have the potential to be a successor, there must be a sale or transfer of all the assets of the

selling company.”).

         Second, Plaintiffs’ assertion that Allergan plc conducted business in Ohio is contrary to

the undisputed facts.         For example, Plaintiffs’ assertion that “‘Allergan plc . . . maintains a

production and packaging facility’ in Ohio” (Dkt. 1823, Plaintiffs’ Memo. of Law in Opp’n

(hereinafter “Opp’n Br.” at 2)) is false. That facility in fact has never been owned or operated by

Allergan plc; it is and has been owned and operated by Allergan Sales, LLC, one of the Defendants

in this case. (Ex. 1, 7/25/19 D’Arecca Aff. at ¶ 4.) Plaintiffs tell the Court that Allergan plc owns

and operates this Ohio facility based on (1) a statement from the University of Cincinnati1 and (2)

a statement in Allergan plc’s consolidated financial statements that “we” have manufacturing sites

in various locations across the world. Of course, a third party’s incorrect characterization of

Allergan’s operations cannot subject Allergan plc to jurisdiction. See Hanson v. Denckla, 357

U.S. 235, 253 (1958) (“The unilateral activity of those who claim some relationship with a

nonresident defendant cannot satisfy the requirement of contact with the forum State.”). Nor can

Allergan plc’s use of personal plural pronouns in its consolidated financial statements, as such

pronouns are consistent with SEC guidance for public filings and simply describe the facilities

owned by subsidiaries whose operations Allergan plc is required to report on a consolidated basis

in its SEC filings.2 See Landis v. Jarden Corp., No. 2:11-cv-101, 2012 WL 12892209, at *3




1
  Plaintiffs cite a University of Cincinnati study that stated, “Allergan plc . . . maintains a production and packaging
facility” in Ohio. See Opp’n Br. at 2; Pl. Ex. 3. As noted above and discussed further below, the University of
Cincinnati’s incorrect attribution of this facility to Allergan plc cannot warrant the exercise of personal jurisdiction.
2
  Plaintiffs also claim that Allergan plc maintains its administrative headquarters in New Jersey. They do not explain
how that fact would subject Allergan plc to jurisdiction in this Court. Regardless, the New Jersey “headquarters” is
actually leased from a third party by Defendant Allergan Sales, LLC. (Ex. 1, 7/25/19 D’Arecca Decl. at ¶ 3.)
                                                           2
 Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 3 of 28. PageID #: 286400




(N.D.W. Va. Mar. 9, 2012) (“[A] holding corporation is obligated to present SEC reports on a

consolidated basis…”).

       Third, Plaintiffs’ alter-ego arguments also fail as a matter of law because they fail to

address, let alone satisfy, the second two prongs required for that rare exception: (1) that Allergan

plc exercised control over unidentified subsidiaries by committing fraud or illegal acts and (2) that

such fraud injured Plaintiffs. Moreover, Plaintiffs’ allegations of “control” are based on further

mischaracterizations. For example, Plaintiffs tell the Court that Allergan plc’s sworn assertion

that it does not finance or control the daily affairs of its subsidiaries is false because an accounting

policy (Opp’n Br. Ex. 5) allegedly states “that ‘any new loan and/or cash movement.’ among

subsidiaries ‘must be approved by [the PLC] prior to cash movement.’” (Opp’n Br. at 2) Setting

aside that this would not establish the level of control to justify an alter-ego finding, the actual

quote from Plaintiffs’ Exhibit 5 is, “any new loan and/or cash movement must be approved by

treasury via email prior to cash movement.” (emphasis added). Allergan’s 30(b)(6) witness

explicitly testified that “people who report to me as part of the treasury function, they would also

be employees of Allergan Sales, LLC.” (Ex. 2, Kaufhold Dep. Tr. at 139.) Plaintiffs’ bracketed

replacement of “PLC” to replace “treasury” is disingenuous in light of the record.

       Stripped of rhetoric and misstatements, the record is clear that Allergan plc is a holding

company based in Dublin, Ireland, which does not conduct business in the United States. Because

the appropriate well-financed Allergan entities are already Defendants in this case, this Court

should not accept Plaintiffs’ invitation to erroneously exercise jurisdiction over this Irish holding

company in contravention of the United States Constitution and settled Ohio law.




                                                   3
    Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 4 of 28. PageID #: 286401




I.       PLAINTIFFS’ EVIDENCE FALLS FAR SHORT OF THE PREPONDERANCE OF
         THE EVIDENCE STANDARD.

         As a threshold matter, Plaintiffs misstate their burden, arguing that to survive Allergan

plc’s motion they “need only make a prima facie showing” of personal jurisdiction. (Opp’n Br. at

4.) At Plaintiffs’ insistence and over Allergan plc’s objection, Allergan plc participated in

discovery for over a year, including (1) participating in a 30(b)(6) deposition, (2) producing

documents and responding to interrogatories during fact discovery, and (3) producing documents

and responding to interrogatories during extensive jurisdictional discovery pursuant to Court order.

(Ex. 3, Dkt. 1512, Jurisdictional Discovery Order.) Plaintiffs cannot have it both ways: “When,

as here, the district court allows discovery on the motion, the court should consider the facts offered

by both parties and rule according to the preponderance of the evidence.” SFS Check, LLC v. First

Bank of Del., 774 F.3d 351, 356 (6th Cir. 2014); see also One Media IP Ltd. v. S.A.A.R. SrL, 122

F. Supp. 3d 705, 715 (M.D. Tenn. 2015) (same); Williams v. MD Helicopters, Inc., No. 14-13787,

2015 WL 4546770, at *2 (E.D. Mich. July 28, 2015) (same); Lyman Steel Corp. v. Ferrostaal

Metals Corp., 747 F. Supp. 389, 392 (N.D. Ohio 1990) (“While the opportunity for discovery and

depositions is critical, Plaintiffs have only to meet a prima facie burden at this stage. Following

discovery, they will have to meet the burden of a preponderance of the evidence.”).3

         Plaintiffs argue the lower “prima facie” standard should nonetheless apply because

“Allergan plc has not produced all of the jurisdictional discovery it was ordered to produce.”




3
   Plaintiffs fault Allergan plc for not updating its motion to dismiss after Plaintiffs filed their Third Amended
Complaint, claiming Allergan plc “ignores” the allegations in that Complaint. (Opp’n Br. at 4.) But Plaintiffs ignore
that the Court granted leave to file the Third Amended Complaint only to add new parties, not to add or change
substantive allegations against existing parties like Allergan plc. (Dkt. 1106, Order Modifying CMO-1) In any event,
Plaintiffs do not identify a single substantive allegation in the Third Amended Complaint that is different from the
Second Amended Complaint. Like much of their brief, this argument lacks any substance or import to the
jurisdictional question actually before the Court.
                                                         4
    Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 5 of 28. PageID #: 286402




(Opp’n Br. at 5.) That is incorrect as both a matter of law and fact. Plaintiffs cite no authority

suggesting that, in the event of a discovery dispute, the remedy would be to lower the standard of

proof in the Sixth Circuit. If Plaintiffs thought there was discovery missing, their remedy was to

file a motion to compel, not to ask for a lower burden in response to a substantive motion. See

Reyes v. Wilson Mem’l Hosp., 102 F. Supp. 2d 798, 826 (S.D. Ohio 1998) (denying motion for

extension of time based on allegedly missing discovery because “[t]he remedy for a party that has

not complied with requests for discovery is a motion to compel”). Here, Plaintiffs never filed such

a motion. The reason is obvious: Plaintiffs do not identify any missing discovery, nor could they.

         As Allergan plc reported to Special Master Cohen on June 16, 2019, Allergan turned over

the final “two outstanding pieces of jurisdictional discovery” shortly after June 16. (Ex. 4, 6/16/19

Knapp email to Cohen.) Indeed, Plaintiffs cite one of those pieces of evidence, the 2013-2015

general ledger, in their brief. (Opp’n Br. at 24.) Plaintiffs instead conjure up supposedly “missing”

documents—like undefined accounting policies above and beyond the hundreds of pages of

policies already produced and that Plaintiffs rely on in their brief—that Allergan plc repeatedly

told Plaintiffs “simply do not exist.” (Ex. 5, 6/14/2019 Welch email to Cohen.) Plaintiffs got the

full benefit of wide-ranging jurisdictional discovery and voluntarily chose not to pursue such a

motion. There is no basis to lower the standard on this motion.4

II.      ALLERGAN PLC IS NOT THE SUCCESSOR IN INTEREST TO ACTAVIS, INC.
         (NOW ALLERGAN FINANCE, LLC).

         Plaintiffs’ primary argument in support of personal jurisdiction is that Allergan plc is the

successor in interest to Actavis, Inc., which changed its name to Allergan Finance, LLC in 2016.



4
 In any event, Plaintiffs do not satisfy the “prima facie” standard because their successor-in-interest arguments fail as
a matter of law and they have not addressed two of the three prongs of the alter-ego analysis. Nevertheless, if the
Court disagrees, Allergan respectfully requests an evidentiary hearing on these issues. Holding such a hearing would
be far more efficient than waiting to resolve these jurisdictional issues in an already-too-crowded trial.
                                                           5
 Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 6 of 28. PageID #: 286403




But Plaintiffs overlook two undisputed facts that render the successor-in-interest analysis wholly

inapplicable here: (1) Allergan Finance, LLC still exists as an ongoing concern, and (2) Allergan

Finance, LLC and Allergan plc did not engage in an asset sale. Because these two unchallenged

facts render successor liability inapplicable as a matter of law, there is no need to proceed with

Plaintiffs’ arguments regarding the exceptions to the successor nonliability rule. Indeed, unlike in

the two cases where courts found that the plaintiffs had made a prima facie showing that Allergan

plc was Allergan Finance, LLC’s successor, this Court now has a fully-developed factual record

and need not accept Plaintiffs’ factually and legally flawed characterization of the relationship

between Allergan plc and Allergan Finance, LLC as fact.

       The Northern District of Illinois found that the plaintiffs there had satisfied the prima facie

standard because Allergan plc’s 10-K’s “suggest[ed] that Actavis plc simply continued the

business of Actavis, Inc.” See City of Chicago v. Purdue Pharma L.P., No. 14 C 4361, 2015 WL

2208423, at *7 (N.D. Ill. May 8, 2015).      However, the court expressly acknowledged: “[T]his

evidence does not definitively establish that Actavis plc [now Allergan plc] is Actavis, Inc.’s

successor.” Id. at *7. If the Chicago case proceeded to jurisdictional discovery (as these cases

have), Allergan plc would have presented the evidence and legal arguments outlined in this reply,

which, based on the case cited by the Chicago court, would defeat Plaintiffs’ personal jurisdiction

argument. See Purdue Research Found. v. Sanofi-Synthelabo, S.A., 338 F.3d 773, 785 (7th Cir.

2003) (“We do not believe that the record before us permits the conclusion that SSBO France is a

‘mere continuation’ of Sterling. It did not merge with Sterling, nor did it purchase all (or

substantially all) of Sterling’s assets.” (emphasis added)); see also BASF Corp. v. POSM II

Properties P’ship, L.P., No. 3608-VCS, 2009 WL 522721, at *8 (Del. Ch. Mar. 3, 2009) (“A

holding corporation like LyondellBasell must present reports of their affairs on a consolidated


                                                 6
 Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 7 of 28. PageID #: 286404




basis. The fact that holdings corporations do so does not render all their subsidiaries inutile,

deprived of all their separate legal dignity.” (internal quotation omitted)). The decision in the Ohio

Attorney General lawsuit likewise is distinguishable because the court there adopted the reasoning

of the City of Chicago decision on a similarly incomplete pre-discovery record. See State of Ohio

ex rel. Dewine v. Purdue Pharma L.P., et al., No. 17 CI 261, 2018 WL 4080052, at *7 (Ohio Ct.

of Common Pleas Aug. 22, 2018) (“This Court also adopts the reasoning of the court in City of

Chicago v. Purdue Pharma L.P.N.D. Ill. No. 14C4361, 215 WL 2208423, finding the evidence

sufficient at the stage of a motion to dismiss that Actavis PLC is the successor to Actavis, Inc.”).

These courts did not address the evidence this Court has before it that shows (1) there is no

successor to Allergan Finance, LLC because it is an ongoing concern with $90.8 billion in assets

(see Ex. 6, Allergan plc 2018 10-K at F-91), and (2) the transaction that created Allergan plc was

not an asset sale that would even present the possibility of successor liability. Under Ohio law,

this evidence defeats any jurisdictional argument based on successor liability.

       A.      Successor-in-Interest Jurisdiction Cannot Apply Because Allergan Finance,
               LLC Still Exists, Still Operates, and Has Billions of Dollars of Assets.

       Successor jurisdiction, as Plaintiffs label it, stems from the rule regarding successor-in-

interest liability. Opportunity Fund, LLC v. Epitome Sys., Inc., 912 F. Supp. 2d 531, 541 (S.D.

Ohio 2012) (“To apply the successor theory of personal jurisdiction in a diversity action, courts

look to the forum state’s rules of successor liability.”). “The purpose of successor liability is to

ensure that claimants are not left without recourse against an entity simply because the entity sells

all of its assets or changes its corporate form.” See In re Welding Fume Prod. Liab. Litig., 2010

WL 2403355, at *7. The two defining aspects of implied successor-in-interest liability are (1) a




                                                  7
    Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 8 of 28. PageID #: 286405




transfer of assets and (2) the dissolution of the predecessor.5 See Restatement (Third) of Torts:

Prod. Liab. § 12 (1998) (“Almost all of the reported decisions applying the bases of successor

liability stated in this Section involve predecessors that transfer all of their assets to successors and

then dissolve or otherwise cease operations.”). Neither element is present here.

         Plaintiffs’ successor-in-interest argument fails as a matter of black-letter law because there

is no dispute that Allergan Finance, LLC still exists, still operates, and still has tens of billions of

dollars of assets. When, as here, “the original entity still exists, there is no successor—and no

successor liability.” In re Welding Fume Prod. Liab. Litig., 2010 WL 2403355, at *7 (citing cases);

Darwish v. Tempglass Grp., Inc., 26 F. App’x 477, 480 (6th Cir. 2002) (“Tempglass Group cannot

be considered a successor corporation to a corporation, Tempglass, Inc., which still exists as a

going concern (albeit under a different name)”). Not only is there no dispute that Allergan Finance,

LLC still exists, it is party to this lawsuit. For example, paragraph 49 of Summit’s Third Amended

Complaint states: “Actavis plc (n/k/a Allergan plc) was established to facilitate the business

combination between Actavis, Inc. (n/k/a Allergan Finance, LLC) and Warner Chilcott plc.

Following the consummation of the October 1, 2013 acquisition, Actavis, Inc. (n/k/a Allergan

Finance, LLC Inc.) and Warner Chilcott plc became wholly-owned subsidiaries of Actavis plc

(n/k/a Allergan plc).” (Emphasis added). In other words, Plaintiffs agree and concede that

Actavis, Inc. still exists: it is just called Allergan Finance, LLC today. And there is no dispute that

Allergan Finance, LLC continues to operate today. Indeed, in its 2018 Form 10-K, Allergan plc



5
   Plaintiffs do not argue that Allergan plc expressly assumed the potential liabilities at issue in this litigation, another
exception to the rule of successor nonliability. Plaintiffs allege only that Allergan plc guaranteed certain notes issued
by Allergan Finance, LLC (Opp’n Br. at 13–15), which they do not allege have any relationship to the liabilities in
this litigation. Such a guarantee is not remotely the same as an express assumption of the liabilities at issue in this
litigation in connection with an asset sale. And such guarantees are not material to Plaintiffs’ implied successor
theories either. See, e.g., Gallenberg Equip., Inc. v. Agromac Int’l Inc., 191 F.3d 456 (7th Cir. 1999) (“The presence
of the [debt] guarantee does not materially change the required [successor liability] analysis.”).
                                                             8
 Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 9 of 28. PageID #: 286406




reported that Allergan Finance, LLC had total assets of $90.8 billion. (Ex. 6, Allergan plc 2018

10-K at F-91.) On this basis alone, this Court must reject Plaintiffs’ successor-jurisdiction

argument.

        B.       Successor-in-Interest Jurisdiction Cannot Apply Because Allergan plc Did Not
                 Acquire Allergan Finance, LLC in an Asset Sale.

        Plaintiffs’ successor-jurisdiction argument fails as a matter of law for the independent

reason that successor-in-interest liability applies only in asset sales, not stock transactions like the

one that created Allergan plc. See Transp. Ins. Co., 969 F. Supp. 2d at 886 (“For a purchaser to

even have the potential to be a successor, there must be a sale or transfer of all the assets of the

selling company.” (emphasis added)). This is a basic proposition supported by Ohio case law,

which governs here. See Flaugher v. Cone Automatic Mach. Co., 507 N.E.2d 331, 334 (Ohio

1987) (“Where there is merely a sale of a corporation’s assets, the buyer corporation is not liable

for the seller corporation’s tortious conduct unless one of the following four exceptions applies…”

(citation omitted)(emphasis added)); Middletown Tube Works, Inc. v. Creative Storage Sys., No.

1:15CV355, 2016 WL 3406025, at *2 (S.D. Ohio June 21, 2016) (“The Supreme Court of Ohio

has explained that ‘a corporation that purchases the assets of another corporation is not liable for

the contractual liabilities of its predecessor corporation unless’…”) (emphasis added); see also

C.T. Charlton & Assocs., Inc. v. Thule, Inc., 541 F. App’x 549, 554 (6th Cir. 2013) (applying

Michigan law and requiring “a transfer of substantially all assets”); Stramaglia v. United States,

377 F. App’x 472, 475 (6th Cir. 2010) (same, requiring “a transfer of substantially all assets.”).

        Indeed, Plaintiffs repeatedly acknowledge that an asset sale is part and parcel of successor-

in-interest liability:

    •   Section IV(A)(2)(c) is titled, “Continuity of Shareholders Resulting from a Sale of Assets
        in Exchange for Stock.” (Opp’n Br. at 13) (emphasis added).


                                                   9
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 10 of 28. PageID #: 286407




    •   “The Ohio Supreme Court has recognized that a continuity of shareholders resulting from
        a sale of assets in exchange for stock is ‘arguably the sine qua non of a de facto merger.’”
        (Opp’n Br. at 13) (emphasis added).

    •   “A second, independently sufficient ground for jurisdiction is where ‘one corporation sells
        its assets to another corporation with the same people owning both corporations,’ rendering
        the acquiring corporation ‘just a new hat for, or reincarnation of, the acquired
        corporation.’” (Opp’n Br. at 15) (emphasis added).

        Despite this black-letter requirement, Plaintiffs do not even attempt to argue that there was

a sale of any assets from Allergan Finance, LLC to Allergan plc. And it is undisputed that the

2013 transaction that created Allergan plc did not involve an asset purchase: it was a stock

transaction that did not involve the transfer of any assets from Allergan Finance, LLC.

Specifically, Allergan plc “was established for the purpose of facilitating the business combination

between Allergan Finance, LLC (formerly known as Actavis, Inc.) and Warner Chilcott plc[.]”

(Ex. 7, Allergan plc 2017 10-K at 3.) As part of the transaction, Warner Chilcott shareholders

received shares in the newly-created Allergan plc at a ratio of 0.16 share of Allergan plc for every

one share of Warner Chilcott. (Ex. 14, Actavis, Inc. 2013 8-K at 10.) Simultaneously, a subsidiary

of Allergan plc, Actavis W.C. Holding 2 Inc., merged with and into Allergan Finance, LLC.

Allergan Finance, LLC was the surviving corporation and retained all of the assets it had prior to

the transaction. (Id. at 2.) All shares of Allergan Finance, LLC were cancelled and converted into

the right to receive shares in Allergan plc on a one-to-one basis. (Id. at 14.) As shown in the

graphical description of the Warner Chilcott/Allergan merger used in the Stockholder’s

Announcement,6 Allergan Finance, LLC merged with an indirect-subsidiary of Allergan plc, and




6
  https://www.sec.gov/Archives/edgar/data/1578845/000119312513312887/d549812d424b3.
htm#rom549812_5
                                                   10
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 11 of 28. PageID #: 286408
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 12 of 28. PageID #: 286409




registrant that still exists, Allergan Finance, LLC, and retained the assets it had prior to the

transaction.

       Put simply, because Allergan Finance, LLC f/k/a Actavis, Inc. did not sell any assets to

Allergan plc (or anyone else), there can be no successor liability, and thus no successor jurisdiction.

See Transp. Ins. Co., 969 F. Supp. 2d at 886 (“For a purchaser to even have the potential to be a

successor, there must be a sale or transfer of all the assets of the selling company.”) (emphasis

added). That Allergan Finance, LLC continues to report tens of billions of dollars in assets itself

proves there was no “sale or transfer of all” of its assets. These undisputed facts defeat Plaintiffs’

successor-jurisdiction argument.

               C.      Plaintiffs’ De Facto Merger and “Mere Continuation” Arguments Are
                       Similarly Meritless.

       Plaintiffs’ argument that the 2013 Warner Chilcott transaction amounts to a de facto merger

between Allergan plc and Allergan Finance, LLC also fails because Allergan Finance, LLC still

exists. (Opp’n Br. at 8.) Plaintiffs admit that a de facto merger requires the “the dissolution of the

predecessor corporation.” Id.; see also Welco Indus., Inc. v. Applied Cos., 617 N.E.2d 1129, 1134

(Ohio 1933) (“Nor did the selling corporation dissolve immediately. In fact, it still exists under the

name Wesche Electric . . . Thus, this transaction fails to satisfy the elements of a de facto merger.”)

(cited by Plaintiffs); CRS Site RD/RA Grp. v. Acme-Cleveland Corp., No. 1: 13 CV 01516, 2014

WL 12591695, at *12 (N.D. Ohio Dec. 1, 2014) (“However, despite the seller corporation having

been stripped of its operating assets and its status as a shell, the court still found that no de facto

merger occurred because the seller corporation did not dissolve immediately after the asset sale.”).

It is self-evident that did not happen here as Allergan Finance, LLC not only still exists but also is

a defendant in these lawsuits. Plaintiffs simply ignore this factor, which they themselves recognize

as one of the “hallmarks” of a de facto merger. (Opp’n Br. at 8.)

                                                  12
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 13 of 28. PageID #: 286410




         Plaintiffs’ “mere continuation” argument fails for the same reason. See Flaugher v. Cone

Automatic Mach. Co., 507 N.E.2d 331, 336 (Ohio 1987) (“[Mere continuation] cases have required

that the predecessor be dissolved or liquidated soon after the transfer of assets.”). Each of the

cases Plaintiffs cite in their brief—many of which rejected mere continuation arguments, see e.g.,

Welco Indus., 617 N.E.2d at 1134—involved asset sales that are entirely distinguishable from the

stock transaction at issue here.7

         Plaintiffs’ remaining evidence shows nothing more than the normal relationship between a

parent and subsidiary. Principally, Plaintiffs allege that Allergan plc’s corporate disclosures

support the proposition that Allergan plc is the successor to still-existing Allergan Finance, LLC.

For example, Plaintiffs claim that Allergan plc’s:

    •    Disclosure of its subsidiaries’ litigation means that Allergan plc assumed responsibility for
         those lawsuits8 (Opp’n Br. at 14);

    •    General description of the business of its consolidated subsidiaries means Allergan plc is
         not a holding company (Opp’n Br. at 9, 16);




7
   See Cytec Indus., Inc. v. B.F. Goodrich Co., 196 F. Supp. 2d 644, 654 (S.D. Ohio 2002) (“purchased the assets”);
Welco Indus., 617 N.E.2d at 1132 (“purchased the assets”); Opportunity Fund, 912 F. Supp. 2d at 536 (“sold Epitome,
or some part of its assets”); State ex rel. Health Care Facilities, Inc. v. Ohio Bureau of Workers’ Comp., 687 N.E.2d
763, 764 (Ohio 1998) (“purchased the following assets”); WRK Rarities, LLC v. United States, 165 F. Supp. 3d 631,
638 (N.D. Ohio 2016) (“transfers of assets”); Senco Brands, Inc. v. Ohio Dep't of Job & Family Servs., 70 N.E.3d
117, 120 (Ohio Ct. Appeals 2016) (“executed an asset purchase agreement”); Trs. of Serv. Emps. Int'l Union Local 3
v. Glengary Grp., LLC., No. 5:07CV2429, 2008 WL 11383259, at *1 (N.D. Ohio July 31, 2008) (“transferred its
Western Reserve account”).
8
  To support its argument that Allergan plc “assumed the liabilities and obligations” of Allergan Finance, LLC, (Opp’n
Br. at 13), Plaintiffs identify five sets of Allergan Finance, LLC notes that Allergan plc guaranteed, (id. at 13-14).
That certainly does not support the argument that Allergan plc assumed “all liabilities” of Allergan Finance, LLC, as
Plaintiffs claim. And Plaintiffs cite no case law holding that a parent corporation guaranteeing the debt of a subsidiary
justifies successor liability. Plaintiffs also present evidence that Allergan Finance, LLC has guaranteed certain notes
that are not guaranteed by Allergan plc. (Opp’n Br. at 14.) Plaintiffs do not even try to explain how that supports
their successor-liability argument. Likewise, Plaintiffs’ allegation that Allergan plc has undertaken responsibility for
all of its subsidiaries’ lawsuits because Allergan plc lists them in its Form 10-K hardly warrants a response. (Opp’n
Br. at 14.) As shown below, Allergan plc presents its financial results on a consolidated basis and thus is required to
identify lawsuits filed against its subsidiaries.
                                                          13
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 14 of 28. PageID #: 286411




   •   Status as the SEC reporting entity means it became Actavis, Inc. (and Warner Chilcott at
       the same time), because Actavis, Inc. was the former reporting entity (Opp’n Br. at 13);
       and

   •   Disclosure of revenue earned by subsidiaries in the U.S. means Allergan plc has “great
       interests in the United States” (Opp’n Br. at 18).

       These are the normal activities of a parent holding corporation and merely reflect the fact

that parent corporations are, by definition, the major investors in their subsidiaries. (See Ex. 8,

Macey Report at 36 (“Similarly, parent companies generally are required to produce consolidated

financial statements and tax returns that reflect the results of their subsidiaries.”).) That Allergan

plc reports its financial statements on a consolidated basis, including the results of Allergan

Finance, LLC and other subsidiaries, cannot support a conclusion that Allergan plc is liable as a

successor to Allergan Finance, LLC. See Dean v. Motel 6 Operating L.P., 134 F.3d 1269, 1274

(6th Cir. 1998) (“a company does not purposefully avail itself merely by owning all or some of a

corporation subject to jurisdiction”); Cannon Mfg. Co. v. Cudahy Packing Co., 267 U.S. 333, 336,

45 S. Ct. 250, 251, 69 L. Ed. 634 (1925) (“Congress has not provided that a corporation of one

state shall be amenable to suit in the federal court for another state in which the plaintiff resides,

whenever it employees a subsidiary corporation as the instrumentality for doing business therein.”)

If it did, then every parent company would be subject to personal jurisdiction in those states where

their subsidiaries do business.    (See Ex. 8, Macey Report, at ¶ 48 (providing examples of

companies reporting consolidated financial statements).)

       Because Plaintiffs’ successor-in-interest arguments fail as a matter of black-letter law, the

remainder of Plaintiffs’ successor-liability “evidence” is discussed in the context of the long-arm

statute below.




                                                 14
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 15 of 28. PageID #: 286412




III.   NEITHER OHIO’S LONG-ARM STATUTE NOR THE FEDERAL DUE PROCESS
       CLAUSE PERMITS EXERCISING SPECIFIC JURISDICTION OVER
       ALLERGAN PLC.

       Plaintiffs next argue that Allergan plc is subject to personal jurisdiction in this Court under

Ohio’s long-arm statute and that exercising jurisdiction passes constitutional muster. “Under Ohio

law, personal jurisdiction over non-resident defendants is available only if (1) the long-arm statute

confers jurisdiction and (2) jurisdiction is proper under the Federal Due Process Clause.” Conn v.

Zakharov, 667 F.3d 705, 712 (6th Cir. 2012). Regarding Ohio’s long-arm statute, Plaintiffs allege

that jurisdiction is proper under R.C. § 2307.382(A)(1) because Allergan plc conducted business

in Ohio directly and as the alter ego of unidentified subsidiaries and under R.C. § 2307.382(A)(7)

because Allergan plc was complicit in criminal acts occurring in Ohio. (Opp’n Br. at 19–25.)

Regarding the Due Process Clause, Plaintiffs maintain that Allergan plc’s acts in Ohio establish a

sufficient connection to make exercising jurisdiction reasonable. (Id. at 26.)

       Plaintiffs have failed to satisfy either standard because they offer no evidence at all that

Allergan plc engaged in any actions in Ohio. Further, they have not rebutted the evidence

submitted in Allergan plc’s motion that “Allergan plc is a holding company” that (1) “does not

finance or control the daily affairs, including marketing or sales operations in Ohio” of any

companies whose shares it holds and (2) does not “currently and has never manufactured,

distributed, marketed, promoted, or sold any pharmaceutical products (including Kadian® or

Norco®) in the United States.” (Ex. 9, 9/7/17 D’Arecca Aff. at ¶ 6, 9.) Indeed, as explained

below, Plaintiffs’ evidence is entirely consistent with the fact that Allergan plc is a mere holding

company that does not itself conduct business anywhere in the United States.

       For example, Plaintiffs assert that, as a holding company, Allergan plc “is focused on”

developing and commercializing pharmaceuticals (Opp’n Br. at 1), but they ignore that its only


                                                 15
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 16 of 28. PageID #: 286413




actions in this regard are by its subsidiaries, which conduct the actual developing and

commercializing. Moreover, those subsidiaries’ actions cannot be imputed to Allergan plc under

Ohio’s exacting alter-ego standard, which Plaintiffs do not even attempt to satisfy.




         A.       Allegan plc Does Not Conduct Business Anywhere in the United States.

         Plaintiffs’ assertion that Allergan plc itself transacts business in Ohio is based on a

misunderstanding or misrepresentation of Allergan plc’s corporate structure.

         First, Plaintiffs assert that Allergan plc maintains a “major manufacturing” site in

Cincinnati, Ohio. (Opp’n Br. at 19.) That is false. In fact, “Allergan Sales, LLC—a subsidiary

of Allergan plc—owns and operates that facility”, not Allergan plc. (Ex. 1, 7/25/19 D’Arecca

Decl. at ¶ 4.) Plaintiffs seek to convert routine, general disclosures that clearly relate to Allergan

plc and all of its subsidiaries and affiliates into declarations of ownership. This is entirely

inconsistent with ordinary and customary business practice by corporate parents, who often use

collective pronouns such as “we” and “us” to refer not only to themselves but also to their

subsidiaries and affiliates.        Routine statements in Allergan plc’s Form 10-K, including the

statement that “we” have manufacturing sites in various locations across the world, do not prove

that Allergan plc ever owned or operated any of those sites.9 See Gruca v. Alpha Therapeutic




9
  To support its argument, Plaintiffs also cite an April 2019 study indicating that Allergan plc maintains that facility.
(See Opp’n Br. at 2 (citing Pls.’ Ex. 3).) Plaintiffs’ own evidence, however, shows that this study was prepared by the
University of Cincinnati Economics Center. (Pls.’ Ex. 4 at 1.) Plaintiffs cite no authority for the proposition that a
public university’s inaccurate statement of corporate ownership constitutes evidence sufficient to justify exercising
jurisdiction over a nonresident defendant. See Hanson v. Denckla, 357 U.S. 235, 253 (1958) (“The unilateral activity
of those who claim some relationship with a nonresident defendant cannot satisfy the requirement of contact with the
forum State.”); Hughes v. Cabanas Del Caribe Hotel, 947 F.2d 945 (6th Cir. 1991) (“The purposeful availment
requirement guards against a defendant having to engage in litigation in a jurisdiction solely as a result of . . .the
unilateral activity of another party or a third person.”) (internal quotation marks omitted).
                                                          16
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 17 of 28. PageID #: 286414




Corp., 19 F. Supp. 2d 862, 867–68 (N.D. Ill. 1998) (ambiguous reference in parent corporation’s

annual report to “our marketing position,” “our international marketing efforts,” and “[o]ur key

overseas operation” are consistent with subsidiary’s existence as a separate entity); BBA Aviation

PLC v. Superior Court, 190 Cal. App. 4th 421, 432, 117 Cal. Rptr. 3d 914, 923–24 (2010) (“The

use of ‘we’ or ‘the Company’ or ‘BBA’ does not prove that BBA and Ontic were a single entity in

practice and does not turn a holding company into an operating company.”).10 Moreover, Plaintiffs

cite no evidence suggesting that this facility ever produced any opioid medicines at issue in this

litigation. Thus, even if Allergan plc had ever owned or operated this facility (and it did not), that

would not be sufficient to exercise personal jurisdiction over Allergan plc. See Bristol-Myers

Squibb Co. v. Superior Ct. of Cal., S.F. Cnty., 137 S. Ct. 1773, 1780 (2017) (“In order for a state

court to exercise specific jurisdiction, the suit must arise out of or relate to the defendant’s contacts

with the forum. … In other words, there must be an affiliation between the forum and the

underlying controversy, principally, [an] activity or an occurrence that takes place in the forum

State that is therefore subject to the State’s regulation.”) (internal citations and quotation marks

omitted).




10
   See also Francis v. Bridgestone Corp., No. 2010/30, 2011 WL 2650599, *9 (D.V.I. July 6, 2011) (rejecting the
argument that statements in the corporate parent’s annual report referring to itself and its subsidiaries as “we” and
“our” supported an alter-ego theory of personal jurisdiction, and stating that “this sort of generic language is frequently
used by corporations when describing the activities of their subsidiaries and does not demonstrate that Bridgestone
actually controlled” its subsidiaries); Wady v. Provident Life & Accident Ins. Co. of Am., 216 F. Supp. 2d 1060, 1062,
1068 (C.D. Cal. 2002) (rejecting contention that use of pronouns such as “we,” “us,” or “our” in claims forms and
correspondence evidenced alter-ego relationship between insurance company and parent holding company); Jazini v.
Nissan Motor Co. Ltd., 148 F.3d 181, 185 (2d Cir. 1998) (references in parent corporation’s annual report did not
show pervasive control over subsidiary); Japan Petrol. (Nigeria) Ltd. v. Ashland Oil Co., 456 F. Supp. 831, 846 (D.
Del. 1978) (subsidiary cannot be regarded as agent of parent based solely on representations made in annual reports,
because “such representations may result from public relations motives or an attempt at simplification”).
                                                           17
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 18 of 28. PageID #: 286415




       Second, Plaintiffs rely on Allergan plc’s 2018 Form 10-K, which states that 23 percent of

revenue came from sales to Ohio-based Cardinal Health. (Opp’n Br. at 19.) Allergan plc’s

financial statements are reported on a consolidated basis, reflecting revenue generated by the

operating entities that it directly or indirectly owns. (Ex. 1, 7/25/19 D’Arecca Decl. at ¶ 4.) As

noted above, referring to this revenue as “our revenue” does not prove that Allergan plc actually

operated in Ohio. The SEC actually directs public companies like Allergan plc to use personal

pronouns in public filings, and the “pronouns to use are first-person plural (we, us, our/ours).”

Office of Investor Education & Assistance, U.S. Sec. & Exch. Comm’n, A Plain English

Handbook:     How     to   Create    Clear    SEC     Disclosure    Documents     at   22    (1998),

http://www.sec.gov/pdf/handbook.pdf. Moreover, filing consolidated financial statements that

include the results, operations, and assets of subsidiaries is a routine, generally accepted practice

for corporate families and cannot serve as a basis for asserting personal jurisdiction. See Case

Fin., Inc. v. Alden, No. 1184-VCP, 2009 WL 2581873, at *4–*5 (Del. Ch. Aug. 21, 2009) (“fil[ing]

consolidated financial statements with the SEC, which include [the subsidiary’s] results” is

insufficient to pierce the corporate veil); Best v. Mobile Streams, Inc., No. 1:12-cv-564, 2014 WL

4988220, at *2 (S.D. Ohio Oct. 7, 2014) (“Best’s reliance on the SEC filings is misplaced, because

nothing in the fact that AT & T Inc. files consolidated financial statements or tax returns …

suggests that it does business in Ohio, provides services or goods in Ohio, or possesses any

property in Ohio.”). Indeed, under Irish law, Allergan plc is required to prepare and file

consolidated financial statements. Companies Act of 2014, Part 6, Chapter 4, paragraph 293

(“Where at the end of its financial year a company is a holding company, the directors of the

company … shall prepare group financial statements for the holding company and all its subsidiary

undertakings for that financial year.”) Thus, Plaintiffs’ reliance on revenue derived from the


                                                 18
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 19 of 28. PageID #: 286416




operations of Allergan plc’s subsidiaries is legally insufficient to establish jurisdiction over

holding company parent Allergan plc.

       Third, Plaintiffs argue that, because a few employees of Allergan plc’s indirect subsidiaries

listed “Allergan plc” in their email signature blocks and letter correspondence, Allergan plc

“reached into Ohio to sell opioids.” (Opp’n Br. at 20–22.) Not so. The inclusion of “Allergan

plc” in these signature block and letters is not a legal statement about the Allergan entity that

actually employed the individual. Rather, the “Allergan plc” signature block is a function of

corporate branding in which a corporate family uses a single face-to-market name when

corresponding with the public. (See Ex. 8, Macey Report, at ¶ 46 (“Parent companies, particularly

large companies often engage in corporate branding across subsidiaries and other related

companies as a marketing strategy.”).) That some Allergan employees used that face-to-market

name (Allergan plc is the name of the public company) in correspondence cannot justify exercising

jurisdiction over a nonresident defendant. See Associated Producers, LTD v. Vanderbilt Univ., 76

F. Supp. 3d 154, 166–67 (D.D.C. 2014) (holding that a nonresident defendant university’s decision

to allow a professor to use the university’s name in her signature block was insufficient for

establishing jurisdiction over the university); Whiting-Turner Contracting Co. v. Capstone Dev.

Corp., No. WDO-12-3730, 2013 WL 5423953, at *9 (D. Md. Sept. 26, 2013) (finding no

jurisdiction over nonresident defendant when employees of the corporate family used the

nonresident defendant’s name in their signature blocks). Allergan plc is a holding company with

no employees. (Ex. 9, 9/17/17 D’Arecca Decl. at ¶ 6, 8.) Plaintiffs have presented no evidence to

the contrary.

       Fourth, Plaintiffs cite a handful of documents showing that employees of Allergan plc’s

indirect subsidiaries occasionally responded to opioid-related questions from Ohio residents and


                                                19
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 20 of 28. PageID #: 286417




sent letters to Cardinal Health on Allergan plc letterhead. (Opp’n Br. at 20–21.) Plaintiffs

specifically note that these letters refer to “our Medical Information Department,” “Allergan, plc.

products,” and “Allergan plc’s sales terms.” (Id. at 20.) These arguments fail for the same reasons

the other signature-block arguments fail: they reflect corporate branding using the name of

Allergan’s public company, Allergan plc. (See Ex. 8, Macey Report, at ¶ 46 (“[I]t is not uncommon

for parent companies and subsidiaries and affiliates to share logos, specific letterhead or stationary,

common websites, domains/emails, and packaging.”).)

       Even assuming Plaintiffs showed something more, these arguments also fail because parent

corporations often speak on behalf of their subsidiaries, and courts routinely hold that such conduct

does not constitute a basis for asserting personal jurisdiction. ASEA/AFSCME Local Health 52

Health Benefits Trust v. Abbott Laboratories shows as much. No. 17-cv-6704, 2018 WL 3022670

(N.D. Ill. June 18, 2018). There, the plaintiff sued Illinois-based Abbott and its Minnesota

subsidiary St. Jude after a recall of allegedly defective pacemakers. Id. at *1. The plaintiff argued

that the court had jurisdiction over the nonresident defendant St. Jude because “Abbott publically

claimed responsibility for the recall of the defective devices, issued updates about the devices in

its own name, and communicated with the FDA about the devices in its own name,” and because

St. Jude publicly advertised that “St. Jude Medical is now Abbott” after the companies’ merger.

Id. at *3. In declining to exercise jurisdiction, the court discounted the significance of this, finding

that, “[a]t most, the allegations in the complaint suggest that Abbott sometimes spoke on behalf of

St. Jude or sometimes represented that it had succeeded St. Jude.” Id.; see also Citibank, N.A. v.

Hicks, No. 03-2283, 2004 WL 945142, at *1 (E.D. Pa. Apr. 29, 2004) (“A blurred line of

distinction between two companies does not mean that the two companies are actually (legally)

alter egos.”); In re Chi. Truck Ctr., Inc., 398 B.R. 266, 278 (Bankr. N.D. Ill. 2008) (“The


                                                  20
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 21 of 28. PageID #: 286418




corporations are and were independent legal entities, which cannot be collapsed into one company

just because an internal memo uses a ‘/’ between GM and GMAC.”; LaSalle Nat. Bank v. Vitro,

Sociedad Anonima, 85 F. Supp. 2d 857, 865 (N.D. Ill. 2000) (“Personal jurisdiction is based on

actual evidence of control . . . rather than on a corporation’s general descriptions. Promotional

statements made on a public website do not precisely convey the operative corporate structure.”);

Martin ex rel. Estate of Martin v. S. Indiana Treatment Ctr., Inc., No. 3:03-CV-428, 2004 WL

2595946, at *1–*2 (W.D. Ky. May 27, 2004) (rejecting argument that parent company was the

alter ego of its subsidiary because the parent corresponded with regulators and otherwise spoke on

its subsidiary’s behalf; in finding no jurisdiction over the parent, the court found that “[i]t seems

only natural that a parent company would directly deal with the media on newsworthy issues

occurring at its subsidiary … .”).

       Finally, Plaintiffs have proffered evidence showing that inVentiv Health directed two

invoices for ”Opioid PMR Support” to Allergan plc—one dated February 7, 2017 (Invoice No.

009355) and the other dated February 9, 2017 (Invoice No. 009394). (Opp’n Br. at 22; Pls.’ Exs.

34 & 35.) Both invoices concern postmarketing studies required under the opioid REMS. (See

Pls.’ Exs. 34 & 35.) For one thing, Plaintiffs present no evidence showing that Allergan plc

actually entered into any contracts for these services or that Allergan plc paid those invoices. To

the contrary, the evidence shows that “Actavis, Inc.”—a defendant in this case—contracted for

these services through inVentiv Health’s consulting group Campbell Alliance. (See Ex. 10,

ALLERGAN_MDL_02189110.) Moreover, a March 31, 2017 email from inVentiv Health to the

“Opioid PMR Consortium” attaches an excel spreadsheet listing “Actavis, Inc.” as the responsible

party for both the February 7, 2017 and February 9, 2017 invoices.                    (See Ex. 11,




                                                 21
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 22 of 28. PageID #: 286419




ALLERGAN_MDL_04348720; Ex. 12, ALLERGAN_MDL_0434875911.) For another thing,

Plaintiffs cite no authority for the novel proposition that a third party could take some act to subject

Allergan plc to jurisdiction in this Court. See Hanson v. Denckla, 357 U.S. 235, 253 (1958) (“The

unilateral activity of those who claim some relationship with a nonresident defendant cannot

satisfy the requirement of contact with the forum State.”).

           B.       Allergan plc Is Not the Alter Ego of Unidentified Subsidiaries.

           Because Plaintiffs have not (and cannot) show that Allergan plc itself conducted business

in Ohio, Plaintiffs attempt to impute Allergan plc’s unidentified subsidiaries’ conduct to Allergan

plc under an alter-ego theory.12 The Court should decline Plaintiffs’ invitation to employ this “rare

exception, to be applied only in the case of fraud or certain other exceptional circumstances.”

Dombroski v. WellPoint, Inc., 895 N.E.2d 538, 542–43 (Ohio 2008).

           As Plaintiffs note in their brief, Ohio law permits a plaintiff to pierce the corporate veil for

jurisdictional purposes only when

           (1) control over the corporation by those to be held liable was so complete that the
           corporation has no separate mind, will, or existence of its own, (2) control over the
           corporation by those to be held liable was exercised in such a manner as to commit




11
     Exhibit 12 is an excel spreadsheet that has been excerpted for the parties’ and Court’s convenience.
12
    Because Plaintiffs do not identify the subsidiaries they claim Allergan plc is the “alter ego” of, it is virtually
impossible for the Court to conduct a true alter-ego analysis. For example, Plaintiffs identify a Management Services
Agreement between Allergan plc and two United States subsidiaries—Allergan, Inc. and Allergan Sales, LLC. (Opp’n
Br. at 23; Pls.’ Ex. 6.) But Allergan plc is not the direct parent of either of those entities; indeed, there are six corporate
entities separating Allergan plc from Allergan, Inc. (Warner Chilcott Holdings Company III, Ltd., Allergan Capital
S.à r.l., Allergan Pharma Inc., Allergan Akarna LLC, Allergan W.C. Holding Inc., and Allergan Finance, LLC), and
Allergan Sales, LLC is even further removed from Allergan plc (Allergan Sales, LLC is a direct subsidiary of Allergan
Holdco US, Inc., which is a direct subsidiary of Allergan, Inc.). (See Ex. 13, ALLERGAN_MDL_00000034, 12/31/18
Allergan Organizational Chart at 2.) To pierce the corporate veil, Plaintiffs would need to demonstrate that the veil
should be pierced as to each entity between Allergan plc and those United States subsidiaries. Plaintiffs have not even
tried to do so. See Corrigan v. U.S. Steel Corp., 478 F.3d 718, 725–26 (6th Cir. 2007) (the plaintiffs failed the first
prong of Ohio’s veil-piercing test when the defendant parent company was separated from its relevant subsidiary by
two other subsidiaries, “and the plaintiffs [had] not presented any evidence showing why the corporate form should
be disregarded as to each of these levels of subsidiaries”).
                                                             22
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 23 of 28. PageID #: 286420




       fraud or an illegal act against the person seeking to disregard the corporate entity,
       and (3) injury or unjust loss resulted to the plaintiff from such control and wrong.

Belvedere Condo. Unit Owners’ Assn. v. R.E. Roark Cos., Inc., 617 N.E.2d 1075 (Ohio 1993)

(emphasis added). Here, Plaintiffs fail to establish the first element and have made no attempt to

satisfy either of the second two elements, so their alter-ego argument must be rejected. See

Dombroski, 895 N.E.2d at 513 (“Limiting piercing to cases in which the shareholders used their

complete control over the corporate form to commit specific egregious acts is key to maintaining

this balance.”) (emphasis added); In re Sunstates Corp. S’holder Litig., 788 A.2d 530, 534 (Del.

Ch. 2001) (“[T]o pierce the corporate veil based on an agency or “alter ego” theory, ‘the

corporation must be a sham and exist for no other purpose than as a vehicle for fraud.’”).

       With respect to the first element, the undisputed record shows that Allergan plc observes

all corporate formalities in relation to its subsidiaries, including Allergan Finance, LLC. (Ex. 9,

9/7/17 D’Arecca Decl. at ¶ 7 (“Allergan plc operates separately and is independent of each of the

companies in which it holds shares. For example, Allergan plc’s corporate records, tax returns,

and financial statements are kept separate from the companies in which it holds shares.”).)

       The evidence Plaintiffs cite proves as much. For example, Plaintiffs cite to Allergan plc’s

general ledgers, which definitively show that Allergan plc in fact keeps books and records separate

from its subsidiaries. (See Pls.’ Exs. 36–37.) Regarding the 2016–2019 ledger, Plaintiffs claim

there is no record showing how Allergan plc accounted for “$33.4 billion in cash the PLC received

for selling its” generics businesses to an affiliate of Teva. (Opp’n Br. at 24.) This fact actually

supports Allergan plc’s position; Plaintiffs simply do not understand that transaction. Allergan plc

did not receive cash from the Teva transaction because it did not directly own the equity in the

businesses that were sold: Allergan plc was their indirect parent. Allergan plc’s subsidiaries that

actually owned the equity interests in those generics businesses received the cash and accounted

                                                23
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 24 of 28. PageID #: 286421




for it in their general ledgers”. (Ex. 1, 7/25/19 D’Arecca Decl. at ¶ 6.) Thus, if anything, the fact

that Allergan plc’s general ledger does not reflect the receipt of billions of dollars from the sale of

equity in entities owned by Allergan plc’s indirect subsidiaries actually shows respect for the

separate legal existence of those entities.

         As for the 2013–2015 general ledger, Plaintiffs complain that “it shows merely 17

transactions for a three-year period.” (Opp’n Br. at 24). Plaintiffs cite no authority requiring a

threshold amount of activity for a corporate entity, particularly a passive holding company, to be

deemed a separate corporate entity.

         Plaintiffs also cite a Management Services Agreement between Allergan plc and two of its

indirect subsidiaries—Allergan, Inc. and Allergan Sales, LLC. 13 (Opp’n Br. at 23; Pls.’ Ex. 6.)

The agreement tasks the subsidiaries with providing various services to Allergan plc, including

strategic direction, information technology, legal, and accounting services. (See Pls.’ Ex. 6 at

Exhibit A.) In performing these services, the subsidiaries are prohibited from entering into

contracts on Allergan plc’s behalf (id. at § 2.5); receive fees from Allergan plc “based on arm’s

length principles” (id. at § 3.1); are required to invoice Allergan plc each quarter and are paid

within 30 days of Allergan plc’s receipt of invoices (id. at §§ 4.1, 4.2); are obligated to “keep true

and accurate books and records” regarding costs of services provided (id. at § 5); are tasked with

protecting confidential information and are prohibited from using such information for any

purposes other than providing the contracted-for services (id. at §§ 7.1, 7.2); are subject to liability

for breaching the agreement (id. at § 8.2); and are required to return all records to Allergan plc at




13
   Plaintiffs also cite this agreement in support of their claim that Allergan plc is the successor to Allergan Finance,
LLC. But given that Allergan Finance, LLC is not a party to this agreement, it is unclear why Plaintiffs think this
agreement supports a finding of successor liability.
                                                          24
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 25 of 28. PageID #: 286422




the agreement’s conclusion (id. at § 10.5). Far from suggesting a “mish-mash of responsibility,

power, and ability to control financial processes” as Plaintiffs maintain (Opp’n at 24), this

agreement demonstrates that Allergan plc and its subsidiaries respected corporate formalities and

truly maintained separate corporate identities. Corrigan v. U.S. Steel Corp., 478 F.3d 718, 726

(6th Cir. 2007) (“[P]roof of some overlapping management between subsidiary and parent is an

insufficient basis to pierce the corporate veil.”). Indeed, if Allergan plc truly was its subsidiaries’

alter ego, no such agreement (let alone payment of fees) would have been necessary.

        Finally, Plaintiffs assert that “seven of Allergan plc’s eight executive officers also serve as

the top officers of Allergan Finance, LLC – the top domestic subsidiary.” (Opp’n Br. at 24.)

Sharing common officers plainly is not enough to confer jurisdiction over a nonresident defendant,

particularly when corporate formalities are observed. Ohio Edison Co. v. Frontier N. Inc., No.

5:14cv321, 2014 WL 6389564, at *11 (N.D. Ohio Nov. 14, 2014).14

        Put simply, there is no basis to pierce Allergan plc’s corporate veil. Nor would declining

to do so work any injustice on Plaintiffs. As stated in Allergan plc’s opening brief, Allergan

Finance, LLC—a named defendant not contesting this Court’s jurisdiction—“is a solvent, going

concern, having reported total assets at year end 2017 of $109 billion and comprehensive income

for 2017 of $1.19 billion”. (Dkt. 1258-1, Allergan’s Opening BR., at 7 (citing 2017 Allergan plc




14
   See also Microsys Computing, Inc. v. Dynamic Data Sys., LLC, No. 4:05 CV 2205, 2006 WL 2225821, at *6–*7
(N.D. Ohio Aug. 2, 2006) (no jurisdiction even when parent and subsidiary shared common officers, same business
enterprise, same phone line, and same address without evidence that corporate formalities had been disregarded);
Garlock v. Ohio Bell Tel. Co. Inc., No. 1:13CV02200, 2014 WL 2006781, at *6 (N.D. Ohio May 15, 2014) (no
jurisdiction despite sharing of common management, officers, directors, board members, offices, corporate logo, and
website with subsidiary); Rucker v. Personal Fin. Co., 90 N.E.2d 428, (3d Dist. Franklin 1948) (“The fact that the
stock of a subsidiary is held by a foreign corporation and that the foreign corporation exercises control over the
subsidiary through the ownership of the stock, the corporate identity being formally preserved, is not sufficient to
subject such foreign corporation to the jurisdiction of a court of this state.”); Levengood v. Levengood, No.
1998AP100114, 2000 WL 874720, *8 (5th Dist. Tuscarawas June 7, 2000) (quoting same).
                                                        25
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 26 of 28. PageID #: 286423




Form 10-K at F-109-10).) Thus, exercising jurisdiction over Allergan plc under an alter-ego theory

is not just improper under Ohio law; it is also unnecessary.

       C.      Allergan plc Was Not Complicit in Causing Tortious Injuries in Ohio.

       Plaintiffs also argue that Allergan plc was complicit in the alleged illegal conduct of its

subsidiaries. (Opp’n Br. at 25.) To support this charge, Plaintiffs rely exclusively on their RICO

claim. (Id.) Nevertheless, Plaintiffs do not cite a shred of evidence suggesting that Allergan plc

had anything to do with its subsidiaries’ alleged illegal conduct. Courts routinely reject such

arguments. See, e.g., Iron Workers Local Union No. 17 Ins. Fund v. Philip Morris Inc., 23 F.

Supp. 2d 796, 801 (N.D. Ohio 1998) (rejecting argument that nonresident parent’s alleged

participation in conspiracy justifies exercising jurisdiction when the parent “has never

manufactured, packaged, marketed, advertised, sold, or distributed [the relevant] products, or any

other goods or products, in the state of Ohio” and had no independent contacts with Ohio outside

of an intercompany lending agreement); Weller v. Cromwell Oil Co., 504 F.2d 927, 930 (6th Cir.

1974). (“[T]he non-moving party may not rest upon allegations or denials in his pleadings but his

response by affidavit or otherwise must set forth specific facts showing that the court has

jurisdiction.”). This Court should do the same.

       D.      Exercising Personal Jurisdiction Over Allergan plc Would Violate
               Constitutional Due Process Protections.

       To exercise personal jurisdiction over Allergan plc, Plaintiffs also must show that doing so

comports with the Due Process Clause of the Fourteenth Amendment.

       A constitutional exercise of personal jurisdiction requires two things: “(1) the defendant

must have established minimum contacts with the forum state, and (2) the assertion of jurisdiction

cannot offend traditional notions of fair play and substantial justice.” Int’l Shoe Co. v. Washington,

326 U.S. 310, 316, 66 S.Ct. 154, 90 L.Ed. 95 (1945). Minimum contacts may give rise to two

                                                  26
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 27 of 28. PageID #: 286424




types of jurisdiction: general (when the defendant’s “affiliations within the state are so continuous

and systematic as to render it essentially at home in the forum state”) and specific (when the

defendant’s activities in the state “give rise to the liabilities sued on”). Id. at 317.

        Plaintiffs have made no attempt to prove general jurisdiction over Allergan plc, so any

argument on that score has been waived. See Gibson v. Prof’l Account Mgmt., LLC, No. 11-CV-

12920, 2012 WL 7990304, at *6 (E.D. Mich. Nov. 15, 2012) (“Where a party fails to raise an issue

in its responsive brief … courts have found that such an argument is waived.”).

        As for specific jurisdiction, Plaintiffs’ argument depends entirely on the alleged

connections Allergan plc has to Ohio, which Allergan plc has already shown do not exist, infra

§ 4.A. The Constitution requires that a direct affiliation must exist “between the forum and the

underlying controversy, principally, [an] activity or an occurrence that takes place in the forum

state.” Bristol-Myers Squibb, 137 S. Ct. at 1781. Plaintiffs have failed to demonstrate any contacts

between Allergan plc and Ohio, let alone that their claim arose from those contacts. Accordingly,

the Due Process Clause does not permit exercising jurisdiction over Allergan plc.


Dated: July 30, 2019                                    Respectfully submitted,

                                                        /s/ Donna Welch
                                                        Donna Welch, P.C.
                                                        KIRKLAND & ELLIS LLP
                                                        300 North LaSalle
                                                        Chicago, IL 60654
                                                        Counsel for Allergan plc f/k/a Actavis plc




                                                   27
Case: 1:17-md-02804-DAP Doc #: 2079 Filed: 07/30/19 28 of 28. PageID #: 286425




                                  CERTIFICATE OF SERVICE

       I, Donna M. Welch, hereby certify that the foregoing document was served via the email

consistent with the Court’s order to all counsel of record.



                                                      /s/ Donna M. Welch
                                                      Donna M. Welch
                                                      KIRKLAND & ELLIS LLP
                                                      300 North LaSalle
                                                      Chicago, IL 60654
                                                      Tel: (312) 862-2000
                                                      donna.welch@kirkland.com




                                                 28
